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11                          UNITED STATES DISTRICT COURT
12                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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15     ORIT ARFA, an individual,            )     Case No.: CV13-2942 ABC (SSx)
                                            )
16                                          )     Honorable Audrey B. Collins
                        Plaintiff,          )
17                                          )     Court Room 680
                  v.                        )
18                                          )     [PROPOSED] ORDER FOR
                                            )
19     ZIONIST ORGANIZATION OF              )     DISMISSAL WITH PREJUDICE
       AMERICA, a New York corporation; and )
20     MORTON KLEIN, an individual; and     )     Complaint Filed:         March 25, 2013
                                            )
21     DOES 1 through 20, inclusive,        )     FAC Filed:               May 10, 2013
                                            )     TAC Filed:               September 11, 2013
22                                          )
                        Defendants.         )
23                                          )
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                                                 1
                           [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
     Case 2:13-cv-02942-ABC-SS Document 108 Filed 05/01/14 Page 2 of 2 Page ID #:3591



 1                                          [PROPOSED] ORDER
 2
                 Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii), and the stipulation of the parties
 3
 4     voluntarily dismissing this action filed on March 25, 2013, including the Third Amended
 5
       Complaint filed on September 11, 2013 against Defendants, this action shall be dismissed
 6
 7     in its entirety with prejudice as to all parties. The parties shall each bear their own

 8     attorneys’ fees, costs and legal expenses incurred in this action
 9
                 This Court shall retain jurisdiction over the parties to enforce any violations of the
10
11     settlement agreement reached between the parties.
12
       IT IS SO ORDERED.
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               May 01
       DATED:____________, 2014                          ________________________________
16                                                            Honorable Audrey B. Collins
17                                                            United States District Judge
                                                              Central District of California
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20     4825-5931-4714, v. 1

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                                 [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
